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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


SMARTMATIC USA CORP., SMARTMATIC
INTERNATIONAL HOLDING B.V. and SGO
CORPORATION LIMITED,

                                  Plaintiffs,
                                                    Case No. 22-cv-00098- WMW-JFD
                      v.

MICHAEL J. LINDELL and MY PILLOW,
INC.,

                              Defendants.


 DECLARATION OF ANDREW D. PARKER SUBMITTED IN SUPPORT OF
 MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR DEFENDANTS

I, Andrew D. Parker, being first duly sworn, state as follows:

       1.     I am an attorney with the law firm of Parker Daniels Kibort LLC (“PDK”).

I am also an owner and named partner of PDK. I have personal knowledge of the dates,

events, and facts stated below.

       2.     In February 2022, PDK was retained by Defendant My Pillow, Inc. to

defend it against allegations of defamation in the above-captioned case.

       3.     At the time of PDK’s retention, PDK had already been retained to represent

My Pillow in US Dominion, Inc., et al. v. My Pillow, Inc., et al., No. 1:21-cv-00445-CJN,

venued in the District of Columbia.
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       4.      After My Pillow, Inc. retained PDK in the Smartmatic matter, PDK was

retained by Defendant Michael Lindell to defend him in both the Smartmatic and

Dominion matters.

       5.      Subsequently, PDK was retained to represent both Defendants, along with

FrankSpeech LLC, in Coomer v. Lindell, et al., No. 1:22-cv-01129-NYW-SKC, venued

in the District of Colorado.

       6.      Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V.,

and SGO Corporation Limited have claimed over $1 billion in damages against

Defendants in this matter. The plaintiffs in the US Dominion, Inc., et al. case are also

claiming over $1 billion in damages against Defendants.

       7.      The above-captioned matter along with US Dominion, Inc. and Coomer will

be collectively referred to as the “Litigations.”

       8.      Since the date of PDK’s retention, we have diligently and aggressively

defended Defendants in the Litigations.

       9.      PDK’s work on behalf of Defendants in the Litigations has included the

following:

            a. collecting and producing hundreds of thousands of pages of documents

               using the services of various contractors, including ESI discovery

               platforms;

            b. receiving production of millions of pages of documents from the various

               plaintiffs and from non-parties, incurring costs associated with hosting the

               documents on litigation management software platforms, and paying

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                  contract document reviewers as well as its own attorneys to review the

                  documents;

               c. extensive motion practice;

               d. defending many hours of depositions for Defendants and taking many hours

                  of deposition testimony of opposing parties and non-parties;

               e. retaining and working with experts to obtain important information about

                  the issues in the Litigations and to obtain expert reports in support of the

                  Defendants’ defenses;

               f. communication with opposing counsel and non-party witnesses;

               g. factual investigation and legal research regarding the issues in the litigation;

                  and

               h. many other litigation administration tasks and obligations.

         10.      For the work PDK has completed on behalf of Defendants in the Litigations

to this point, Defendants have incurred millions of dollars in fees and costs.

         11.      Defendants regularly paid PDK in a timely manner (within 30 days of

invoicing) all amounts owed for representation in the above-captioned case, up to the end

of 2022. In 2023, Defendants’ payments began to slow. In addition, around this time,

litigation fees and costs in the above-captioned case dramatically increased. In May 2023

payments slowed to more than 60 days and began to be only partial payments.

         12.      No payment has been made for PDK’s July 2023 and August 2023 invoices

in the above-captioned case. A similar situation exists in the Dominion and Coomer

cases.

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       13.    PDK has worked with Defendants over the past few months in hopes that

Defendants would find a way to secure the financing to pay their debts to PDK and pay

for PDK’s continued representation.

       14.    Beginning in August 2023 and again in September 2023, PDK warned

Defendants that if they did not pay the outstanding invoices and continue to pay new

invoices as they came due, PDK would have to withdraw its representation of

Defendants.    Two relatively small payments were made in August 2020 and two

relatively small payments were made in September 2023, but these were only a fraction

of the total owed.

       15.    During the week of September 25, 2023, PDK engaged in further

discussions with Defendants concerning the debt. PDK again warned Defendants that

PDK would have to withdraw its representation if the outstanding invoices were not paid.

On October 2, 2023, PDK was informed by Defendants that they are not able to get

caught up with or make any payment on the large amount they owe in arrears nor pay for

anywhere near the estimated expense of continuing to defend against the lawsuits going

forward, including either the legal fees or litigation costs.

       16.    At this time, Defendants are in arrears millions of dollars to PDK.

       17.    PDK is a small, 16-attorney litigation law firm in Minneapolis, MN.

       18.    PDK cannot afford to carry this large of a debt nor to finance Defendants’

defense in the Litigations going forward.

       19.    If forced to continue its representation, PDK would be required to fund all

personnel and payroll costs, as well as the costs and fees associated with dispositive and

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numerous nondispositive motions; numerous depositions noticed by both the Plaintiffs

and Defendants; document review of millions of documents, including the hosting of

those documents on litigation management software; and the preparation and submission

of rebuttal expert reports as well as additional expert discovery, such as depositions.

       20.    These future fees and costs will amount to millions of dollars in addition to

the millions of dollars already owed.

       21.    Forcing PDK to continue funding Defendants’ defense in the above-

captioned matter through the conclusion of this billion-dollar litigation would place PDK

in serious financial risk and could threaten the very existence of the firm.

       22.    PDK brought in Nathan Lewin of Lewin & Lewin, LLP as part of the PDK

team, and Mr. Lewin entered an appearance pro hac vice on behalf of My Pillow, Inc.

Mr. Lewin and his law firm’s representation of My Pillow, Inc. is dependent upon PDK’s

representation and will terminate in conjunction with PDK’s representation of My Pillow,

Inc. I am informed that Mr. Lewin’s firm is also owed money by My Pillow, Inc.

Accordingly, Mr. Lewin has instructed PDK that he joins the motion to withdraw.

       23.    Defendants have been made fully aware of this filing by PDK. Defendants

have indicated that they understand PDK’s position, do not object, and are in the process

of finding new counsel.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 5, 2023 in Hennepin County, Minnesota.

                                                         /s/ Andrew D. Parker
                                                         Andrew D. Parker


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